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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JIM BOGNET, et al.,
Plaintiffs,
y CIVIL ACTION NO. 3:20-CV-215
KATHY BOOCKVAR, in her capacity as CIVIL ACTION

Secretary of the Commonwealth of

Pennsylvania, et al., (ELECTRONICALLY FILED)

Defendants,
DEMOCRATIC NATIONAL COMMITTEE,

Intervenor-Defendant.

 

 

ORDER GRANTING PLAINTIFFS’ MOTION FOR AN ENLARGEMENT
OF TIME TO COMPLETE SERVICE OF PROCESS

THIS MATTER is before the Court upon the application of King Legal Group, LLC, and
Cooper & Kirk, PLLC, attorneys for Plaintiffs, for an enlargement of time to complete service of
process pursuant to Fed. R. Civ. P. 6(b)(1)(A). Upon due consideration, and for good cause having

been shown;

 

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IT IS on this 7 day of bene GY, 2021, ORDERED THAT Plaintiffs’

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Motion for an Enlargement of Time to Complete Service of Process IS GRANTED. The deadline
for Plaintiffs to complete service of process is enlarged by 30 days from Wednesday, January 20,

2021 to Friday, February 19, 2021.

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Hon. Kim R. Gibson
United States District Judge
